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               UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION

   MARY LOU MILLER,

              Plaintiff,              Case No. 1:17-cv-1032-PLM-RSK

   v.
                                      Hon. Paul L. Maloney
   NATIONAL CHECK BUREAU, INC.

         Defendant.

                      STIPULATION TO DISMISS

        NOW COME Plaintiff Mary Lou Miller and Defendant National

  Check Bureau, Inc., by and through their undersigned counsel, who

  pursuant to Rule 41(a)(2) stipulate and agree to the dismissal of this

  matter, with prejudice, and without fees to either party.

  Respectfully Submitted,


  /s/ B. Thomas Golden                   /s/ Elizabeth M. Shaffer
  B. Thomas Golden (P70822)              Elizabeth M. Shaffer, Esq.
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